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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION

IN RE: NATIONAL PRESCRIPTION                     )   CASE NO.: 1:17-MD-02804
OPIATE LITIGATION                                )
                                                 )   JUDGE DAN A. POLSTER
                                                 )
                                                 )   MAGISTRATE JUDGE DAVID A. RUIZ
                                                 )
                                                 )
                                                 )
                                                 )   NOTICE OF COMPLIANCE
                                                 )


          PLEASE TAKE NOTICE that the United States of America received a request for the

disclosure of official Department of Justice information in the above-captioned case. Specifically,

the request seeks access to the Drug Enforcement Administration’s ARCOS database. Federal

regulations govern the disclosure of official information by Department of Justice employees g

FBI agents) and prohibit personnel from testifying absent express authorization. 28 C.F.R. §

16.22(a). The United States Supreme Court has long recognized the authority of agency heads to

restrict testimony of their subordinates through regulations. United States ex rel. Touhy v. Ragen,

340 U.S. 462 (1951). These regulations are commonly called “Touhy Regulations.” In the Touhy

decision, the United States Supreme Court held that a subordinate federal officer could not be

found in contempt of court for refusing to produce subpoenaed documents where his refusal was

based on Department of Justice regulations prohibiting the disclosure of nonpublic documents

without authorization of the Attorney General. Id. at 466. The Court rejected the contention that

the regulation invaded the authority of the Courts to determine the admissibility of evidence. Id.

at 468.
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       In this instance, a limited authorization to disclose official Department of Justice

information has been granted. The scope of authorized disclosures is in the authorization letter

attached hereto as Government Exhibit A and is being provided to the Court and all of the parties.

                                     Respectfully submitted,

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                                     First Assistant United States Attorney
                                     Northern District of Ohio
                                     Acting Under Authority Conferred by 28 U.S.C. § 515

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                                 CERTIFICATE OF SERVICE

       I certify that, on February 26, 2018, I filed the foregoing Notice of Compliance

electronically. The Court’s electronic filing system will send notice of this filing to all parties.

Parties may access this filing through the Court’s system.


                                                       /s/ James R. Bennett II
                                                       JAMES R. BENNETT II
                                                       Assistant U.S. Attorney
